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                         UNITED STATES DISTRICT COI]RT
                            DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA.                                     gRAr*"dq sRNl KmM
                             Plaintiff
                                                     INDICTMENT
               V.
                                                     18   U.S.C. $ 7sl(a)
 ALEX JOHN JONES,
           alWa"Bvnz"

                             Defendant.

      THE UNITED STATES GRAND JURY CFIARGES T}IAT:

                                         COUNT   1
                                 (Escape From Custody)

       On or about April 25,2020, in the State and District of Minnesota, the defendant,

                         ALEX JOHN JONES, a/r/a'oBlunz",

who by virtue of a felony conviction, was in the custody of the Bureau of Prisons and

confined to the Volunteers of America Halfivay House, did knowingly leave the custody

of the Bureau of Prisons without authorization, all in violation of Title 18, United States

Code, Section 751(a).




                                     A TRUE BILL




UNITED STATES ATTORNEY                           FOREPERSON


                                                                                SCANI'lED
                                                                                JAN 1 z    2021

                                                                             U.S. DISTHICT COURT MPLS
